Case 2:17-cv-00656-.]ES-CI\/| Documehqri\€\@@ 12/12/18 Page 1 of 2 Page||;) 8434

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DAVlD J. HALBERG, P.A. mm m en n ,,
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Tou.-FREE 877~HALBERG§
TcLspHoNE (551) 615-serio
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11 December 2018
HAND DELIVERY

Honorable Elizabeth Warren
Clerk of the Court

USDC, Middle District of Florida
Ft. Myers Division

2110 First Street

Fort Myers, FL 33901

m<.--,-.-.,. .»,.- .',~ .- L-t em v ~ ~»

Re: Don)'a Go)'ne.s VLMH.S' d/b/a Cape Cora] Hospl'ta] &]eo Vanm'Hecba Varrj RN
Case Number 2:17-cv-00656-]ES-CM s

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Dear Madam Clerk: n
Pursuant to our oftice's telephone conversations and instructions from your oi;`fice,
enclosed, please find the following: ="

1. joint Motion to Seal, Pursuant to Local Rule 1.09, Plaintifi’s Exhibits to be Hle§d in
Support of Plaintiff’s Response to Defendant's Motion for Sumrnary ]udgment§[DE
97], filed as [DE 118];

a. Exhibit "A" [DE 118-1] filed thereto; `51

Z. Plaintifl’s Notice of Filing Prior Sexual-Assault Investigative Exhibits (to be .S`ea:led)
in Support of Her Response in Opposition to Defendant’s, Lee Memorial He”alth
System, Motion for Sumrnary Iudgment [DE 121]; and §

3. CD containing the documents to be .S'ea/ed by this Court should the Court file§ its
Order granting the Ioint Motion to Seal [DE 118].

As of the writing this letter and transmitting of the documents, the Court has not ru§led
on DE 118. ‘

Case 2:17-cV-00656-.]ES-CI\/| Document 126 Filed 12/12/18 Page 2 of 2 Page|D 8435

Clerk of the C§ourt

UsDc Middle Disrrict ofFl¢§rida

Re: Goines V. Lee Memorl'a] Hea]t}) .S’ystems, §?ta].
Case No. 2: 17 cv- -00656- -]ES- CM

Page €I`WO

 

If, upon review, you should have any questions and/or concerns in this regard, please
contact our office.

Thank you for your assistance in this regard.

Respectfully submitted,

 

F or the Firm
RAF/B
Enclosures: As indicated
Copy to: Hon. john Steele (w/encl.)

Hon. Carole Mirano (W/encl.)
Angelique Groza Lyons, Attorney at Law
Allison R. Wallrap, Attorney at Law §
Mark A. Haskins, Esq. "`
]eovanni Hechavarria, R.N., pro se

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